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lN THE UNI'I`ED STATES DIS'I`RICT COURT FOR THE§ SEP ... l PH 3: 55
WESTERN DISTRICT OF TENNESSEE

 

 

AT MEMPHIS
UNITED STATES OF AMERICA,
Plaintiff,
v. Case. No.: 05-20047-B
05-20268?(/
CI-IARLES GRUBB,
Defendant.

 

ORDER GRANTING MOTION TO WAIVE APPEARANCE OF
DEFENDANT AT REPORT DATE

 

This matter came to be heard by The Honorable Judge J. Daniel Breen and for

good cause Shown is granted

 

"[@norable Judge J. Da;niel Breen

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Date

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This notice confirms a copy of the document docketed as number 20 in
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US DISTRICT COURT

